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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

PAUL NMN CHIANG and                        *
MONICA MICHELLE CHIANG
                                           *

Plaintiffs                                 *

v.                                         *       Civil Action No.: 1:18-CV-02749-BPG

AZIZ MURDOVICH FAYZULLAEV and *
PROGRESSIVE CARRIERS, CO.
                              *
Defendants.
                              *

*       *        *     *      *     *    *   *     *    *                 *         *   *
                            JOINT STIPULATION OF DISMISSAL

        Plaintiffs, Paul and Monica Chiang, and Defendants, Progressive Carriers, Co. and Aziz

Fayzullaev, (the “Parties“) by and through their undersigned attorneys, and pursuant to Federal

Rule of Civil Procedure 41, hereby jointly stipulate and agree to the DISMISSAL OF ALL

CLAIMS in this matter WITH PREJUDICE. Accordingly, please mark this case DISMISSED

WITH PREJUDICE and remove the trial and all scheduled appearances from this Court’s docket.

                                                   Respectfully submitted,


               /s/                                                 /s/
Stephen J. Marshall (#29632)                       Ari S. Casper (#14512)
Patrick M. Wachter (#19586)                        The Casper Firm
Franklin & Prokopik, P.C.                          400 E. Pratt Street, Suite 903
The B&O Building                                   Baltimore, Maryland, 21202
Two North Charles Street, Suite 600                (410) 989-5097
Baltimore, Maryland 21201                          (410) 630-7776 (fax)
(410) 752-8700                                     acasper@casperfirm.com
(410) 752-6868 (fax)                               Attorneys for Plaintiff
smarhsall@fandpnet.com
pwachter@fandpnet.com
Attorneys for Defendants Aziz Fayzullaev and
Progressive Carriers, Co.


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                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this 1st day of December 2020, a copy of the foregoing

Joint Stipulation of Dismissal was electronically filed and mailed via mail, postage pre-paid to:


       Ari S. Casper, Esq.
       The Casper Firm
       400 E. Pratt Street, Suite 903
       Baltimore, MD 21202
       Attorneys for Plaintiff




                                                     /s/ Patrick M. Wachter
                                                     Patrick M. Wachter




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